Case 2:12-cv-03423-SJO-VBK Document 66 Filed 05/29/13 Page 1 of 3 Page ID #:719




 1   LAWRENCE G. TOWNSEND (SBN 88184)(ltownsend@owe.com)
     LAW OFFICES OF LAWRENCE G. TOWNSEND
 2   455 Market Street, 19th Floor
     San Francisco, California 94105
 3   (415) 882-3288; (415) 882-3299 FAX
 4
     DOUGLAS A. LINDE (SBN 217584)(dal@lindelaw.net)
 5   ERICA L. ALLEN (SBN 234922)(eag@lindelaw.net)
     THE LINDE LAW FIRM
 6   9000 Sunset Boulevard, Suite 1025
     Los Angeles, California 90069
 7
     (310) 203 9333; (310) 203-9233 FAX
 8
     Attorneys for Plaintiff
 9
     JIM MARSHALL PHOTOGRAPHY LLC
10
11                         UNITED STATES DISTRICT COURT

12                        CENTRAL DISTRICT OF CALIFORNIA
13
14   JIM MARSHALL PHOTOGRAPHY                    Case No. CV 12-03423 SJO (VBKx)
15   LLC, a California Limited Liability         Filed April 20, 2012
     Company,                                    Honorable S. James Otero
16
                        Plaintiff,
17        vs.                                    DECLARATION OF DOUGLAS A.
18
                                                 LINDE IN SUPPORT OF
     THIERRY GUETTA; IT’S A                      PLAINTIFF’S MOTION FOR
19   WONDERFUL WORLD, INC., a                    SUMMARY ADJUDICATION
20   California corporation; GOOGLE, INC., a
     Delaware corporation, and DOES 1
21   through10, inclusive,
22                                               Time: 10:00 a.m.
                       Defendants.               Date: July 1, 2013
23
                                                 Place: Courtroom 1 – 2nd Floor
24
25   TO THE HONORABLE COURT, DEFENDANT AND ITS ATTORNEYS OF

26   RECORD HEREIN:

27
28


                          DECLARATION OF DOUGLAS LINDE – Page 1
Case 2:12-cv-03423-SJO-VBK Document 66 Filed 05/29/13 Page 2 of 3 Page ID #:720




 1   I, DOUGLAS A. LINDE, declare:
 2
 3        1.   I am an attorney licensed to practice before all the courts of the State of
 4   California and the Central District Court of California. I am a member of the Linde
 5   Law Firm and currently represent Plaintiff in this case.
 6        2.   Attached hereto as Exhibit 1, is a true and correct copy of the United States
 7   Copyright Registration VA 1-365-079 on record with the United States Copyright
 8   Office filed by Jim Marshall.
 9        3.   Attached hereto as Exhibit 2, is a true and correct copy of the United States
10   Copyright Registration TX 6-031-402 on record with the United States Copyright
11   Office filed by Jim Marshall.
12        4.   Attached hereto as Exhibit 3, is a true and correct copy of the relevant
13   portions of Defendants’ Answer to Plaintiff’s Second Amended Complaint.
14        5.   Attached hereto as Exhibit 4, is a true and correct copy of the relevant
15   portions of Defendants responses to Plaintiff’s Request for Admissions, First Set. The
16   Exhibits referred to in the Requests are attached.
17        6.   Attached hereto as Exhibit 5, is a true and correct copy of the relevant
18   portions of Defendants responses to Plaintiff’s Interrogatories, First Set.
19        7.   Attached hereto as Exhibit 6, is a true and correct copy of the relevant
20   portions of the Deposition of Amelia Davis, taken on November 6, 2012.
21        8.   Attached hereto as Exhibit 7, is a true and correct copy of the relevant
22   portions of the Deposition of Defendant Thierry Guetta, taken on May 17, 2013, and
23   the exhibits referenced therein.
24        9.   Attached hereto as Exhibit 8, is a true and correct copy of the United States
25   Copyright Registration VA 521-027 on record with the United States Copyright
26   Office.
27
28


                            DECLARATION OF DOUGLAS LINDE – Page 2
Case 2:12-cv-03423-SJO-VBK Document 66 Filed 05/29/13 Page 3 of 3 Page ID #:721




 1         I declare under the penalty of perjury that all of the above is true and correct of
 2   my own personal knowledge.        If called as a witness, I could and would testify
 3   competently to all of it.
 4         Signed on May 29, 2013 in Los Angeles County, California.
 5
 6
 7
 8                                                Douglas A. Linde
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                            DECLARATION OF DOUGLAS LINDE – Page 3
